             Case 2:24-cv-14250-JEM Document 26-1 Exhibit
                                                   EnteredA on FLSD Docket 09/30/2024 Page 1 of 3
2018MM002629 A - STATE OF FLORIDA vs. THOMPSON, LEROY AUGUSTUS JUNIOR

SUMMARY
Judge:                                                         Court Type:                                          Case Type:
NELSON, KATHRYN                                                Misdemeanor                                          MISDEMEANOR
Case Number:                                                   Uniform Case Number:                                 Status:
2018MM002629 A                                                 562018MM002629AXXXXX                                 CLOSED
Clerk File Date:                                               Status Date:                                         Waive Speedy Trial:
10/23/2018                                                     2/26/2020
Total Fees Due:                                                Custody Location:                                    Agency:
0.00                                                                                                                ST LUCIE COUNTY SHERIFF'S OFFICE
Agency Report Number:
1813259




PARTIES
TYPE              PARTY NAME                                                                                                                                 ATTORNEY

DEFENDANT         THOMPSON, LEROY AUGUSTUS JUNIOR
PLAINTIFF         STATE OF FLORIDA



CHARGES
 COUNT      DESCRIPTION                                                                                       LEVEL DEGREE        PLEA              DISPOSITION          DISPOSITION DATE

    1       UNLAWFUL USE OF POLICE BADGE OR OTHER INDICIA OF AUTHORITY (843.085)                              M     F             NOLO-CONTENDERE   ADJUDICATED GUILTY   02/26/2020
    2       OPEN CARRYING OF WEAPON (790.053)                                                                 M     S             NOLO-CONTENDERE   ADJUDICATED GUILTY   02/26/2020
    3       OPEN CARRYING OF WEAPON (790.053)                                                                 M     S             NOLO-CONTENDERE   ADJUDICATED GUILTY   02/26/2020



EVENTS
DAT E                           EVE N T                              J UD GE                  LOC ATI ON                R ESULT

2/26/2020 9:00 AM               HEARING                              NELSON, KATHRYN         Courtroom 2C - HC      CHANGE OF PLEA ENTERED / SENTENCE IMPOSED
1/15/2020 9:30 AM               HEARING                              NELSON, KATHRYN         Courtroom 2C - HC      CASE CONTINUED BY DEFENSE MOTION
11/20/2019 9:00 AM              CHANGE OF PLEA HEARING               NELSON, KATHRYN         Courtroom 2C - HC      CASE CONTINUED BY DEFENSE MOTION
10/23/2019 9:00 AM              CHANGE OF PLEA HEARING               NELSON, KATHRYN         Courtroom 2C - HC      CASE HEARD / NEW COURT DATE SET
10/14/2019 8:30 AM              TRIAL DOCKET                         NELSON, KATHRYN         Courtroom 2C - HC      CASE CONTINUED BY DEFENSE MOTION
9/23/2019 9:00 AM               DOCKET CALL                          NELSON, KATHRYN         Courtroom 2C - HC      CASE HEARD / NEW COURT DATE SET
8/5/2019 9:00 AM                DOCKET CALL                          NELSON, KATHRYN         Courtroom 2C - HC      CASE CONTINUED BY STIPULATED MOTION PRIOR TO COURT
6/17/2019 9:00 AM               DOCKET CALL - PRI ATTY               NELSON, KATHRYN         Courtroom 2C - HC      CASE CONTINUED BY STIPULATED MOTION PRIOR TO COURT
5/28/2019 8:30 AM               TRIAL DOCKET                         NELSON, KATHRYN         Courtroom 2C - HC      CASE CONTINUED BY STIPULATED MOTION PRIOR TO COURT
3/25/2019 9:00 AM               DOCKET CALL - PRI ATTY               NELSON, KATHRYN         Courtroom 2C - HC      CASE HEARD / NEW COURT DATE SET
2/25/2019 9:00 AM               DOCKET CALL - PRI ATTY               NELSON, KATHRYN         Courtroom 2C - HC      CASE CONTINUED BY DEFENSE MOTION
1/14/2019 9:00 AM               DOCKET CALL - PRI ATTY               NELSON, KATHRYN         Courtroom 2C - HC      CASE CONTINUED BY DEFENSE MOTION
11/26/2018 9:30 AM              DOCKET CALL - PRI ATTY               NELSON, KATHRYN         Courtroom 2C - HC      CASE HEARD / NEW COURT DATE SET
11/20/2018 9:00 AM              ARRAIGNMENT HEARING                  NELSON, KATHRYN         Courtroom 2C - HC      CANCELLATION OF HEARING PRIOR TO COURT



CASE DOCKETS
I MA GE      DI N    DATE                 EN T RY

   1        97      9/25/2020            NOTICE ( V )

   1        96      9/10/2020            MOTION FOR RETURN OF PROPERTY ( V )

   2        0       7/8/2020             JUDGMENT AND SENTENCE - Recorded (Other.4443.303 / 4726848)
             94      7/8/2020             Attorney PAIGE MEREDITH FARACH - Deactivated by Automated Process

   2        95      7/7/2020             JUDGMENT AND SENTENCE
             92      7/7/2020             PROSECUTOR: FARACH, PAIGE MEREDITH ASSIGNED
 Request
             91      5/19/2020            PAYMENT $293.00 RECEIPT #2020000038207

 Request
             90      4/26/2020            PAYMENT $30.00 RECEIPT #2020000033711

  2         89      4/8/2020             PLEA AGREEMENT
             86      3/27/2020            Attorney KATY ELIZABETH REID - Deactivated by Automated Process
             86      3/27/2020            Attorney EDWARD JOSEPH MOSHER - Deactivated by Automated Process
                                          "RECIPIENTS: THOMPSON, LEROY AUGUSTUS JUNIOR - SUBJECT: SERVICE OF COURT DOCUMENT – 2018MM002629 A, STATE OF FLORIDA VS. THOMPSON, LEROY
             88      3/27/2020
                                          AUGUSTUS JUNIOR - ATTACHMENT COUNT: 1 - EMAIL DOCKET DESCRIPTIONS: PPA-3/27/2020"
I MA GE    Case
             DATE2:24-cv-14250-JEM
           DI N        EN T RY     Document 26-1 Entered on FLSD Docket 09/30/2024 Page 2 of 3
   5      87     3/27/2020    PARTIAL PAYMENT AGREEMENT
 Request
           85     3/26/2020    PAYMENT $50.00 RECEIPT #2020000027761

   1      84     3/18/2020    MOTION FOR RETURN OF PROPERTY

   1      83     3/18/2020    MOTION - RETRIEVAL OF PROPERTY
                               "RECIPIENTS: COFFELT, NIKI - SUBJECT: SERVICE OF COURT DOCUMENT – 2018MM002629 A, STATE OF FLORIDA VS. THOMPSON, LEROY AUGUSTUS JUNIOR -
           82     3/4/2020
                               ATTACHMENT COUNT: 3 - EMAIL DOCKET DESCRIPTIONS: CDB-3/4/2020"
   1      81     3/4/2020     CERTIFICATE OF CANCELLATION OF BOND

   1      79     3/4/2020     CERTIFICATE OF CANCELLATION OF BOND
           78     3/4/2020     SURETY BOND 3801003806 (790.053) RELEASED

   1      77     3/4/2020     CERTIFICATE OF CANCELLATION OF BOND

   1      74     2/26/2020    NOTICE OF FINES AND COST DUE ( V )
           80     2/26/2020    SURETY BOND 3801003851 (790.053) RELEASED
           76     2/26/2020    SURETY BOND 3801003848 (843.085) RELEASED
           75     2/26/2020    CASE CLOSED

   3      73     2/26/2020    IN-COURT DOCKETING NOTES
                               COURT MINUTES: HEARING: DEFENDANT APPEARED IN OPEN COURT, WITH APD EDWARD J. MOSHER. ASA PAIGE M. FARACH WAS PRESENT FOR THE STATE. DEFT
                               ADVISED OF I.N.S. RIGHTS. THE DEFENDANT WAS SWORN. AND DEFENSE ENTERED A PLEA OF NOLO-CONTENDERE TO CT.1 UNLAWFUL USE OF POLICE BADGE OR OTHER
                               INDICIA OF AUTHORITY (843.085). AND NOLO-CONTENDERE TO CT.2 OPEN CARRYING OF WEAPON (790.053). AND NOLO-CONTENDERE TO CT.3 OPEN CARRYING OF
           72     2/26/2020    WEAPON (790.053). THE COURT FOUND FACTUAL BASIS AND ACCEPTED PLEA. , DISPOSITION: CT.1 ADJUDICATED GUILTY : TIME SERVED - RELEASE. PAY WITHIN 30
                               DAYS, DUE DATE 3/27/2020, OR SET UP PAYMENT PLAN.CT.2 ADJUDICATED GUILTY : TIME SERVED - RELEASE. PAY WITHIN 30 DAYS, DUE DATE 3/27/2020, OR SET UP
                               PAYMENT PLAN.CT.3 ADJUDICATED GUILTY : TIME SERVED - RELEASE. PAY WITHIN 30 DAYS, DUE DATE 3/27/2020, OR SET UP PAYMENT PLAN.. PAY: MM COST $223.00;
                               COI $25.00; COP MM $100.00; BALANCE DUE = $348.00 .
   6      71     1/21/2020    NOTICE OF COURT DATE
           70     1/21/2020    HEARING SET FOR 02/26/2020 AT 9:00 AM IN 2C/ , COUNTY JUDGE: NELSON, KATHRYN

   2      69     1/15/2020    IN-COURT DOCKETING NOTES
                               COURT MINUTES: HEARING: DEFENDANT APPEARED IN OPEN COURT, WITH PRIVATE ATTORNEY EDWARD J. MOSHER, ASA PAIGE M. FARACH WAS PRESENT FOR THE
           68     1/15/2020    STATE. DEFENSE MADE A MOTION TO CONTINUE. MOTION WAS GRANTED.. CASE SET FOR A CHANGE OF PLEA. CONTINUED FOR: HEARING: NEXT COURT DATE:
                               2/26/2020 09:00 AM WITH JUDGE NELSON K.
   4      67     11/25/2019   NOTICE OF COURT DATE
           66     11/25/2019   HEARING SET FOR 01/15/2020 AT 9:30 AM IN 2C/ , COUNTY JUDGE: NELSON, KATHRYN

   2      65     11/20/2019   IN-COURT DOCKETING NOTES
                               COURT MINUTES: CHANGE OF PLEA HEARING: DEFENDANT APPEARED IN OPEN COURT, WITH PRIVATE ATTORNEY MICHAEL R. OHLE STANDING IN FOR EDWARD J.
           64     11/20/2019   MOSHER, ASA ROBERT E. STONE JR WAS PRESENT FOR THE STATE. DEFENSE MADE A MOTION TO CONTINUE,MOTION WAS GRANTED.. CONTINUED FOR: HEARING: NEXT
                               COURT DATE: 1/15/2020 09:30 AM WITH JUDGE NELSON K.
   4      63     10/28/2019   NOTICE OF COURT DATE
           62     10/28/2019   CHANGE OF PLEA HEARING SET FOR 11/20/2019 AT 9:00 AM IN 2C/ , COUNTY JUDGE: NELSON, KATHRYN

   2      61     10/23/2019   IN-COURT DOCKETING NOTES
                               COURT MINUTES: CHANGE OF PLEA HEARING: DEFENDANT APPEARED IN OPEN COURT, WITH PRIVATE ATTORNEY EDWARD J. MOSHER, ASA KATY E. REID WAS PRESENT
           60     10/23/2019   FOR THE STATE. DEFENSE MADE A MOTION TO CONTINUE.MOTION WAS GRANTED.CASE SET FOR A CHANGE OF PLEA. CONTINUED FOR: HEARING: NEXT COURT DATE:
                               11/20/2019 09:00 AM WITH JUDGE NELSON K.
   6      59     10/17/2019   NOTICE OF COURT DATE
           58     10/17/2019   CHANGE OF PLEA HEARING SET FOR 10/23/2019 AT 9:00 AM IN 2C/ , COUNTY JUDGE: NELSON, KATHRYN

   2      57     10/14/2019   IN-COURT DOCKETING NOTES
                               COURT MINUTES: TRIAL DOCKET: DEFENDANT APPEARED IN OPEN COURT, WITH PRIVATE ATTORNEY EDWARD J. MOSHER, ASA ROBERT E. STONE JR WAS PRESENT FOR
           56     10/14/2019   THE STATE. DEFENSE MADE A MOTION TO CONTINUE.MOTION WAS GRANTED.. CASE SET FOR A STATUS/CHANGE OF PLEA. CONTINUED FOR: HEARING: NEXT COURT
                               DATE: 10/23/2019 09:00 AM WITH JUDGE NELSON K.
   8      55     9/26/2019    NOTICE OF COURT DATE
           54     9/26/2019    TRIAL DOCKET SET FOR 10/14/2019 AT 8:30 AM IN 2C/ , COUNTY JUDGE: NELSON, KATHRYN

   2      53     9/23/2019    IN-COURT DOCKETING NOTES
                               COURT MINUTES: DOCKET CALL: DEFENDANT WAS NOT PRESENT, (PRESENCE WAIVED). PRIVATE ATTORNEY EDWARD J. MOSHER APPEARED FOR THE DEFENDANT, AND
           52     9/23/2019
                               ASA ROBERT E. STONE JR WERE PRESENT. CONTINUED FOR: TRIAL DOCKET: NEXT COURT DATE: 10/14/2019 08:30 AM WITH JUDGE NELSON K.
   8      51     8/1/2019     NOTICE OF COURT DATE
           50     8/1/2019     DOCKET CALL SET FOR 09/23/2019 AT 9:00 AM IN 2C/ , COUNTY JUDGE: NELSON, KATHRYN

   1      49     7/31/2019    ORDER TO CONTINUE ( V )

   1      48     7/16/2019    MOTION TO CONTINUE FILED ( V )

   2      47     7/10/2019    RESPONSE TO DEMAND FOR DISCOVERY (SUPPLEMENTAL) ( V )

   2      46     6/17/2019    RESPONSE TO DEMAND FOR DISCOVERY (SUPPLEMENTAL) ( V )

   8      44     6/13/2019    NOTICE OF COURT DATE
           43     6/13/2019    DOCKET CALL SET FOR 08/05/2019 AT 9:00 AM IN 2C/ , COUNTY JUDGE: NELSON, KATHRYN

   1      45     6/12/2019    MOTION TO CONTINUE FILED ( V )

   1      42     6/12/2019    ORDER TO CONTINUE ( V )

   2      41     6/5/2019     RESPONSE TO DEMAND FOR DISCOVERY (SUPPLEMENTAL) ( V )

   8      39     5/23/2019    NOTICE OF COURT DATE
           38     5/23/2019    DOCKET CALL - PRI ATTY SET FOR 06/17/2019 AT 9:00 AM IN 2C/ , COUNTY JUDGE: NELSON, KATHRYN

   1      40     5/22/2019    MOTION TO CONTINUE FILED ( V )

   1      37     5/22/2019    ORDER TO CONTINUE ( V )

   2      36     4/2/2019     RESPONSE TO DEMAND FOR DISCOVERY (SUPPLEMENTAL) ( V )

   2      35     4/1/2019     RESPONSE TO DEMAND FOR DISCOVERY (SUPPLEMENTAL) ( V )

   6      34     3/28/2019    NOTICE OF COURT DATE
I MA GE   Case
            DATE2:24-cv-14250-JEM
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          33     3/28/2019    TRIAL DOCKET SET FOR 05/28/2019 AT 8:30 AM IN 2C/ , COUNTY JUDGE: NELSON, KATHRYN

   2     32     3/25/2019    IN-COURT DOCKETING NOTES
                              COURT MINUTES: DOCKET CALL - PRI ATTY: DEFENDANT APPEARED IN OPEN COURT, WITH PRIVATE ATTORNEY EDWARD J. MOSHER, ASA JONATHAN S. HENDRICKS WAS
          31     3/25/2019
                              PRESENT FOR THE STATE. CONTINUED FOR: TRIAL DOCKET: NEXT COURT DATE: 5/28/2019 08:30 AM WITH JUDGE NELSON K.
   6     30     2/28/2019    NOTICE OF COURT DATE
          29     2/28/2019    DOCKET CALL - PRI ATTY SET FOR 03/25/2019 AT 9:00 AM IN 2C/ , COUNTY JUDGE: NELSON, KATHRYN

   2     28     2/25/2019    IN-COURT DOCKETING NOTES
                              COURT MINUTES: DOCKET CALL - PRI ATTY: DEFENDANT APPEARED IN OPEN COURT, WITH PRIVATE ATTORNEY EDWARD J. MOSHER, ASA JONATHAN S. HENDRICKS WAS
          27     2/25/2019    PRESENT FOR THE STATE. DEFENSE MADE A MOTION TO CONTINUE.MOTION GRANTED. CONTINUED FOR: DOCKET CALL - PRI ATTY: NEXT COURT DATE: 3/25/2019
                              09:00 AM WITH JUDGE NELSON K.
   8     26     1/17/2019    NOTICE OF COURT DATE
          25     1/17/2019    DOCKET CALL - PRI ATTY SET FOR 02/25/2019 AT 9:00 AM IN 2C/ , COUNTY JUDGE: NELSON, KATHRYN

   2     24     1/14/2019    IN-COURT DOCKETING NOTES
                              COURT MINUTES: DOCKET CALL - PRI ATTY: DEFENDANT WAS NOT PRESENT, (PRESENCE WAIVED). ERIKA A. POWERS STANDING IN FOR EDWARD J. MOSHER AND HAS
          23     1/14/2019    APPEARED FOR THE DEFENDANT, AND ASA KATY E. LEBLANC WERE PRESENT. DEFENSE MADE A MOTION TO CONTINUE, MOTION WAS GRANTED.. CONTINUED FOR:
                              DOCKET CALL - PRI ATTY: NEXT COURT DATE: 2/25/2019 09:00 AM WITH JUDGE NELSON K.
   8     22     11/29/2018   NOTICE OF COURT DATE
          21     11/29/2018   DOCKET CALL - PRI ATTY SET FOR 01/14/2019 AT 9:00 AM IN 2C/ , COUNTY JUDGE: NELSON, KATHRYN

   4     20     11/29/2018   DEMAND FOR NOTICE OF ALIBI ( V )

   2     19     11/26/2018   IN-COURT DOCKETING NOTES
                              COURT MINUTES: DOCKET CALL - PRI ATTY: DEFENDANT WAS NOT PRESENT, (PRESENCE WAIVED). PRIVATE ATTORNEY EDWARD J. MOSHER APPEARED FOR THE
          18     11/26/2018   DEFENDANT, AND ASA KATY E. LEBLANC WERE PRESENT. DEFENSE MADE A MOTION TO CONTINUE,MOTION WAS GRANTED. CONTINUED FOR: DOCKET CALL - PRI ATTY:
                              NEXT COURT DATE: 1/14/2019 09:00 AM WITH JUDGE NELSON K.
                              "RECIPIENTS: MOSHER, EDWARD JOSEPH - SUBJECT: SERVICE OF COURT DOCUMENT – 2018MM002629 A, STATE OF FLORIDA VS. THOMPSON, LEROY AUGUSTUS JUNIOR -
          17     11/20/2018
                              ATTACHMENT COUNT: 1 - EMAIL DOCKET DESCRIPTIONS: IF-11/20/2018"
          16     11/20/2018   PROSECUTOR: LEBLANC, KATY ELIZABETH ASSIGNED

   1     15     11/20/2018   INFORMATION ( V )

   8     14     10/24/2018   NOTICE OF COURT DATE
          13     10/24/2018   DOCKET CALL - PRI ATTY SET FOR 11/26/2018 AT 9:30 AM IN 2C/ , COUNTY JUDGE: NELSON, KATHRYN
          12     10/24/2018   DEFENSE ATTORNEY: MOSHER, EDWARD JOSEPH ASSIGNED

   2     11     10/24/2018   NOTICE OF DISCOVERY ( V )

   1     10     10/24/2018   NOTICE OF APPEARANCE WAIVER OF ARRAIGNMENT AND WRITTEN PLEA OF NOT GUILTY ( V )
          9      10/24/2018   ARRAIGNMENT HEARING SET FOR 11/20/2018 AT 9:00 AM IN 2C/ , COUNTY JUDGE: NELSON, KATHRYN

   9     5      10/23/2018   BOND RECEIVED ( V )

   4     3      10/23/2018   ARREST REPORT - INITIATING CASE ( V )

   1     4      10/23/2018   NOTICE ON DEMAND ( V )
          8      10/23/2018   SURETY BOND 3801003851 POSTED $375.00
          7      10/23/2018   SURETY BOND 3801003806 POSTED $375.00
          6      10/23/2018   SURETY BOND 3801003848 POSTED $750.00
          2      10/23/2018   COUNTY JUDGE NELSON, KATHRYN: ASSIGNED
          1      10/23/2018   CASE FILED 10/23/2018 CASE NUMBER 2018MM002629 A
